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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                    )
 IN RE: AQUEOUS FILM-FORMING                        )   MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY                           )
 LITIGATION                                         )   ORDER
                                                    )
                                                    )   This Order Relates to
                                                    )   Case No. 2:20-cv-632-RMG
                                                    )
                                                    )
                                                    )


        Before the Court is Plaintiff’s motion to amend the complaint. (Dkt. No. 2572.) The motion

is authorized by Plaintiffs’ Co-Lead Counsel.

I.      Background

        James Hunter brought this lawsuit in February 2020 for personal injuries allegedly caused

by Polyfluoroalkyl substances and other hazardous chemicals allegedly contained in aqueous film-

forming foam. Plaintiff passed away on July 28, 2020. (Dkt. No. 2572 at 1). On August 24, 2020,

Tena Tarver was appointed personal representative of Plaintiff’s estate. (Dkt. No. 2572-1).

        Plaintiff’s counsel now moves to amend the complaint to add Tena Tarver to this lawsuit

as personal representative of Plaintiff’s estate.

II.     Legal Standard

        After the time has passed to amend a pleading as a matter of course, “a party may amend

its pleading only with the opposing party's written consent or the court's leave. The district court

should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). Rule 15(a) is a “liberal

rule [that] gives effect to the federal policy in favor of resolving cases on their merits instead of

disposing of them on technicalities.” Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006) (en banc).
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The “district court may deny a motion to amend when the amendment would be prejudicial to the

opposing party, the moving party has acted in bad faith, or the amendment would be futile.” Equal

Rights Ctr. v. Niles Bolton Assocs., 602 F.3d 597, 602-03 (4th Cir. 2010).

III.     Discussion

         Having carefully reviewed the proposed amended complaint and considered the basis for

its allegations, the Court finds that the permissive standard imposed by Rule 15(a) allows for

amendment in these circumstances. There is no indication that amending would prejudice the

current defendants. See Davis v. Piper Aircraft Corp., 615 F.2d 606, 613 (4th Cir. 1980)

(“[A]bsence of prejudice, though not alone determinative, will normally warrant granting leave to

amend.”). There is similarly no reasonable basis to find that the Plaintiff seeks to amend in bad

faith. Accordingly, leave to amend is warranted.

IV.      Conclusion

         For the foregoing reasons, Plaintiff’s motion to amend (Dkt. No. 2572) is GRANTED and

Plaintiff is directed to promptly file the amended complaint.

         AND IT IS SO ORDERED.



                                                     _s/ Richard Mark Gergel_________
                                                     Richard Mark Gergel
                                                     United States District Judge
September 6, 2022
Charleston, South Carolina




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